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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                   v.
                                             Crim. No. 17-201-1 (ABJ)
    PAUL J. MANAFORT, JR.,
                                             REDACTED

                    Defendant.



                          GOVERNMENT’S SENTENCING MEMORANDUM

           The government submits this memorandum in connection with the sentencing of Paul J.

Manafort, Jr., scheduled for March 13, 2019, in connection with his guilty plea to two counts of

conspiracy in violation of 18 U.S.C. § 371. Consistent with the practice the Special Counsel’s

Office has followed, the government does not take a position with respect to a particular sentence

to be imposed. Instead, the government sets forth its assessment of the nature of the offenses and

offender and the applicable advisory sentencing guidelines and sentencing factors.1

           Based on his relevant sentencing conduct, Manafort presents many aggravating sentencing

factors and no warranted mitigating factors. Manafort committed an array of felonies for over a

decade, up through the fall of 2018. Manafort chose repeatedly and knowingly to violate the law—

whether the laws proscribed garden-variety crimes such as tax fraud, money laundering,

obstruction of justice, and bank fraud, or more esoteric laws that he nevertheless was intimately

familiar with, such as the Foreign Agents Registration Act (FARA). His criminal actions were

bold, some of which were committed while under a spotlight due to his work as the campaign

chairman and, later, while he was on bail from this Court. And the crimes he engaged in while on


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    See 18 U.S.C. § 3553(a).
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bail were not minor; they went to the heart of the criminal justice system, namely, tampering with

witnesses so he would not be held accountable for his crimes. Even after he purportedly agreed to

cooperate with the government in September 2018, Manafort, as this court found, lied to the

Federal Bureau of Investigation (FBI), this office, and the grand jury. His deceit, which is a

fundamental component of the crimes of conviction and relevant conduct, extended to tax

preparers, bookkeepers, banks, the Treasury Department, the Department of Justice National

Security Division, the FBI, the Special Counsel’s Office, the grand jury, his own legal counsel,

Members of Congress, and members of the executive branch of the United States government. In

sum, upon release from jail, Manafort presents a grave risk of recidivism. Specific deterrence is

thus at its height, as is general deterrence of those who would engage in comparable concerted

criminal conduct. See United States v. Fry, 851 F.3d 1329, 1332 (D.C. Cir. 2017) (district court

correctly considered pertinent sentencing factors when it, among other things, “explained that the

sentence would deter Fry and others who may be inclined in doing similar kinds of things” (internal

quotations omitted)); United States v. Jackson, 848 F.3d 460, 466-67 (D.C. Cir. 2017) (citing 18

U.S.C. § 3553(a)(2)(B) & (C), the question for the sentencing court is whether the sentence is

“sufficiently stiff to deter [the defendant] and others from committing similar crimes in the

future.”); United States v. Foy, 617 F.3d 1029, 1037 (8th Cir. 2010) (general deterrence interest in

deterring “similarly situated persons.”)

       Nothing about Manafort’s upbringing, schooling, legal education, or family and financial

circumstances mitigates his criminality. Indeed, as part of his plea agreement, Manafort agreed

that, although he could dispute for instance the guideline calculation as to role in the offense, a




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